                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:
                                                      Chapter 7
Joseph G. DuMouchelle and
Melinda J. Adducci                                    Case No. 19-54531-lsg

                                                      Honorable Lisa S. Gretchko
          Debtors.
____________________________________/

Thomas T. Ritter

              Plaintiff,

v.

Joseph G. DuMouchelle and                             Adversary Pro. No. 20-04381
      Melinda J. Adducci

         Defendants.

____________________________________/

     ORDER DENYING DEFENDANTS’ MOTION TO DISMISS
ADVERSARY COMPLAINT AND PROCEEDING AND FOR SANCTIONS

         This matter came before the Court upon the Defendants’ Motion to Dismiss

Adversary Complaint and Proceeding and for Sanctions (“Motion”; ECF No. 55),

the Plaintiff’s response to the Motion (“Response”; ECF No. 61) and the

Defendants’ reply (“Reply”; ECF No. 75). Plaintiff and Defendants previously filed

a stipulation (“Sanctions Withdrawal Stipulation”; ECF No. 60) consenting to the

withdrawal of Defendants’ request for sanctions as set forth in the Motion. On


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February 10, 2023, the Court held a hearing (“Hearing”) on the Motion, the

Response and the Reply; counsel for Plaintiff and counsel for Defendants appeared

at the Hearing. The Court has reviewed the Motion, the Response, the Reply, the

Sanctions Withdrawal Stipulation and other pertinent pleadings, has considered

statements made at the Hearing, and is advised in the premises.

      NOW, THEREFORE, IT IS HEREBY ORDERED that for the reasons

stated on the record at the Hearing, the Motion is denied except as set forth in the

next paragraph of this Order.

      IT IS FURTHER ORDERED that Plaintiff is granted a period of 14 days

from the date of entry of this Order to file a further amendment to Count I of

Plaintiff’s First Amended Complaint to state which writing(s) the Plaintiff relied

upon with respect to the promissory note(s) for purposes of the 11 U.S.C.

§523(a)(2)(B) allegations in Count I of Plaintiff’s First Amended Complaint. If the

Plaintiff fails to file a timely amendment of Count I consistent with the preceding

sentence in this Order, then the 11 U.S.C. §523(a)(2)(B) allegations in Count I of

Plaintiff’s First Amended Complaint shall be deemed dismissed; however the

balance of Count I shall remain and proceed.

Signed on February 28, 2023




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